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                            Exhibit 36
Case 1:18-cv-00950-PTG-JFA Document 473-39 Filed 10/21/19 Page 2 of 2 PageID# 20711


 Subject:    Re: Sony v. Cox - trial witnesses
 Date:       Monday, August 12, 2019 at 7:22:27 PM Eastern Daylight Time
 From:       Jeﬀ Gould
 To:         Anderson, Sean R., Buchanan, Tom
 CC:         Elkin, Michael S., MaL Oppenheim
 AHachments: image001.jpg

Tom/Sean - We write on behalf of PlainTﬀs, RIAA and Victoria Sheckler to object to Cox’s trial
subpoena to Ms. Sheckler. Consistent with Judge Anderson’s prior ruling, tesTmony from Ms. Sheckler
would be duplicaTve and cumulaTve of tesTmony from the RIAA, including Steve Marks, and presents
an undue burden on Ms. Sheckler under the circumstances.

Regards,
Jeﬀ

Jeﬀrey M. Gould
Oppenheim + Zebrak, LLP
202.851.4526 (direct)
jeﬀ@oandzlaw.com



From: "Anderson, Sean R." <SRanderson@winston.com>
Date: Monday, July 29, 2019 at 7:10 PM
To: Jeﬀ Gould <Jeﬀ@oandzlaw.com>, "Buchanan, Tom" <TBuchana@winston.com>
Cc: "Elkin, Michael S." <MElkin@winston.com>, MaL Oppenheim <MaL@oandzlaw.com>
Subject: RE: Sony v. Cox - trial witnesses

Jeﬀ,

Please see aLached the referenced trial subpoenas.

Regards,

 Sean R. Anderson
 Associate Attorney
 Winston & Strawn LLP
 D: +1 212-294-5388
 F: +1 212-294-4700
 VCard | Email | winston.com




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